On August 22, 1994, appellee, Frank Vigilante, Jr., pleaded guilty to rape, in violation of R.C. 2907(A)(1)(b). The Ashtabula County Court of Common Pleas subsequently sentenced appellee to an indefinite term of ten to twenty-five years of incarceration, with the minimum term being an actual term of incarceration.
On October 15, 1997, appellant, the State of Ohio, filed a notice of intent to have appellee adjudicated as a sexual predator pursuant to recently amended R.C. Chapter 2950, Ohio's version of Megan's Law. In a judgment entry filed on February 18, 1998, the trial court dismissed the sexual predator proceeding, holding that R.C. Chapter 2950, as amended, is unconstitutional. Appellant filed a timely notice of appeal, asserting that the revised statute is constitutional.
Based on the precedent established by the majority of this court in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, although this writer interposed a dissent to the majority's mandate there that R.C. Chapter 2950 was constitutionally void as applied to sexual predators under Section 1, Article I of the Ohio Constitution, it is clear that the decision in the Williams case controls the outcome here. Hence, I defer to the present controlling authority in this appellate district on the issues raised in this appeal.
Accordingly, the judgment of the trial court is affirmed.
                             --------------------------------- PRESIDING JUDGE DONALD R. FORD
NADER, J., O'NEILL, J., concur.
HON. DONALD R. FORD, P.J., HON. ROBERT A. NADER, J., HON. WILLIAM M. O'NEILL, J., JUDGES.